      Case: 22-2003 Doc
Case 23-01092-MBK    Document:  14804/24/23
                        -16 Filed      Page: 1Entered
                                                  Date04/24/23
                                                       Filed: 10/04/2022
                                                                12:06:09 Desc
                          Exhibit 14 Page 1 of 6



                        UNITED STATES COURT OF APPEALS
                             FOR THE THIRD CIRCUIT

    IN RE:                        .            Case No. 22-2003/22-2004
                                  .
    LTL MANAGEMENT LLC,           .            21400 U.S. Courthouse
                   Debtor,        .            601 Market Street
                                  .            Philadelphia, PA 19106
    OFFICIAL COMMITTEE OF TALC    .
    CLAIMANTS,                    .            Monday, September 19, 2022
                   Appellant.     .
     . . . . . . . . . . . . . . ..
    IN RE                         .            Case No. 22-2005
                                  .
    LTL MANAGEMENT LLC,           .
                   Debtor.        .
                                  .
    LTL MANAGEMENT, LLC.          .
                                  .
               v.                 .
                                  .
    THOSE PARTIES LISTED ON       .
    APPENDIX A TO COMPLAINT AND   .
    JOHN AND JANE DOES 1-1000     .
    OFFICIAL COMMITTEE OF TALC    .
    CLAIMANTS,                    .
                   Appellant.     .
     . . . . . . . . . . . . . . ..
    IN RE:                        .            Case No. 22-2006/22-2007
                                  .
    LTL MANAGEMENT LLC,           .
                   Debtor.        .
                                  .
    OFFICIAL COMMITTEE OF TALC    .
    CLAIMANTS, ET AL.             .
                   Appellants.    .
     . . . . . . . . . . . . . . ..
    IN RE:                        .            Case No. 22-2008
                                  .
    LTL MANAGEMENT LLC,           .
                   Debtor.        .
                                  .
    LTL MANAGEMENT LLC            .
                                  .
               v.                 .
                                  .
    THIRD PARTIES LISTED ON       .
    APPENDIX A TO COMPLAINT AND   .
    JOHN AND JANE DOES 1-1000,    .
    OFFICIAL COMMITTEE OF TALC    .
    CLAIMANTS, ET AL.             .
      Case: 22-2003 Doc
Case 23-01092-MBK    Document:  14804/24/23
                        -16 Filed      Page: 2Entered
                                                  Date04/24/23
                                                       Filed: 10/04/2022
                                                                12:06:09 Desc
                          Exhibit 14 Page 2 of 6

                                                                                2

    OFFICIAL COMMITTEE OF TALC    .
    CLAIMANTS, ET AL.             .
                    Appellants.   .
     . . . . . . . . . . . . . . ..
    IN RE:                        .            Case No. 22-2009
                                  .
    LTL MANAGEMENT LLC,           .
                    Debtor.       .
                                  .
    ARNOLD & ITKIN LLP, ON BEHALF .
    OF CERTAIN PERSONAL INJURY    .
    CLAIMANTS REPRESENTED BY      .
    ARNOLD & ITKIN,               .
                    Appellant.    .
     . . . . . . . . . . . . . . ..
    IN RE:                        .            Case No. 22-2010
                                  .
    LTL MANAGEMENT LLC,           .
                    Debtor.       .
                                  .
    AYLSTOCK WITKIN KRIES &       .
    OVERHOLTZ PLLC, ON BEHALF OF .
    MORE THAN THREE THOUSAND      .
    HOLDERS OF TALC CLAIMS,       .
                    Appellant.    .
     . . . . . . . . . . . . . . ..
    IN RE:                        .            Case No. 22-2011
                                  .
    LTL MANAGEMENT LLC,           .
                    Debtor.       .
                                  .
    LTL MANAGEMENT LLC            .
                                  .
              v.                  .
                                  .
    THOSE PARTIES LISTED ON       .
    APPENDIX A TO COMPLAINT AND   .
    JOHN AND JANE DOES 1-1000     .
                                  .
    AYLSTOCK WITKIN KRIES &       .
    OVERHOLTZ, PLLC., ON BEHALF OF.
    MORE THAN THREE THOUSAND      .
    HOLDERS OF TALC CLAIMS,       .
                    Appellant     .
     . . . . . . . . . . . . . . ..




                                   WWW.JJCOURT.COM
      Case: 22-2003 Doc
Case 23-01092-MBK    Document:  14804/24/23
                        -16 Filed      Page: 3Entered
                                                  Date04/24/23
                                                       Filed: 10/04/2022
                                                                12:06:09 Desc
                          Exhibit 14 Page 3 of 6

                                                                                3

                          TRANSCRIPT OF ORAL ARGUMENT
                                     BEFORE
                     THE HONORABLE JUDGE THOMAS L. AMBRO
                      UNITED STATES THIRD CIRCUIT JUDGE
                       THE HONORABLE L. FELIPE RESTREPO
                      UNITED STATES THIRD CIRCUIT JUDGE
                        THE HONORABLE JULIO M. FUENTES
                      UNITED STATES THIRD CIRCUIT JUDGE

    APPEARANCES:

    For the Appellants:            MoloLamken
                                   By: JEFFREY A. LAMKEN, ESQ.
                                   600 New Hampshire Avenue, N.W.
                                   Washington, D.C. 20037

                                   Kellogg Hansen Todd Figel & Frederick
                                   BY: DAVID C. FREDERICK, ESQ.
                                   1615 M Street, N.W., Suite 400
                                   Washington, D.C. 20036

    For U.S. Trustee:              U.S. Department of Justice
                                   By: SEAN JANDA, ESQ.
                                   Appellate Section
                                   Room 7260
                                   950 Pennsylvania Avenue, N.W.
                                   Washington, D.C. 20530

    For Appellees:                 Hogan Lovells US
                                   By: NEAL K. KATYAL, ESQ.
                                   555 Thirteenth Street, N.W.
                                   Washington, D.C. 20004




    Proceedings recorded by electronic sound recording, transcript
                   produced by transcription service.
    _______________________________________________________________

                          J&J COURT TRANSCRIBERS, INC.
                              268 Evergreen Avenue
                           Hamilton, New Jersey 08619
                          E-mail: jjcourt@jjcourt.com

                  (609)586-2311         Fax No. (609) 587-3599


                                   WWW.JJCOURT.COM
      Case: 22-2003 Doc
Case 23-01092-MBK    Document:  14804/24/23
                        -16 Filed      Page: 4Entered
                                                  Date04/24/23
                                                       Filed: 10/04/2022
                                                                12:06:09 Desc
                          Exhibit 14 Page 4 of 6

                                                                                4

                                     I N D E X

    ORAL ARGUMENT                                                       PAGE

          BY MR. LAMKEN                                                   6

          BY MR. JANDA                                                   35

          BY MR. FREDERICK                                               46

          BY MR. KATYAL                                                  58

    REBUTTAL ARGUMENT

          BY MR. LAMKEN                                                 101

          BY MR. JANDA                                                  115

          BY MR. FREDERICK                                              117




                                   WWW.JJCOURT.COM
      Case: 22-2003 Doc
Case 23-01092-MBK    Document: 14804/24/23
                        -16 Filed    Page: 74    Date
                                            Entered   Filed: 10/04/2022
                                                    04/24/23  12:06:09 Desc
                          Exhibit 14 Page 5 of 6

                                                                              74

 1              MR. KATYAL:     We are very sympathetic to exactly that

 2 argument, Your Honor.        So refer to three points.       One is you're

 3 exactly right that the ordinary course is a subsidiary would

 4 declare bankruptcy.       That's your own opinion joined by Judge

 5 Fuentes in In re Owens Corning back in 2005.            That's exactly

 6 what happened.      That's what this Court approved.

 7              Second, we're not here defending something in the

 8 absence of a funding agreement.          If there is no funding

 9 agreement, that valid bankruptcy purposes that Judge Kaplan

10 isolated those four look very different.           They look like

11 litigation advantages.

12              But here, if you were to ask what is the litigation

13 advantage that is served that could somehow dwarf Judge

14 Kaplan's four different findings of valid purpose, it would be

15 -- you're hard pressed to do so because this deal gives -- this

16 restructuring and this petition gives actually more to the

17 claimants, now all the claimants including future claimants.

18              And that's what Congress is telling you've got to do.

19              THE COURT:    This funding agreement has a bifurcation.

20 It will fund in bankruptcy and out of bankruptcy.             Isn't that

21 correct?

22              MR. KATYAL:     I believe it only funds in bankruptcy.

23 I mean --

24              THE COURT:    So what's it do outside of bankruptcy?

25              MR. KATYAL:     I don't think it has any life outside of


                                  WWW.JJCOURT.COM
      Case: 22-2003 Doc
Case 23-01092-MBK    Document: 14804/24/23
                        -16 Filed    Page: 83    Date
                                            Entered   Filed: 10/04/2022
                                                    04/24/23  12:06:09 Desc
                          Exhibit 14 Page 6 of 6

                                                                              83

 1              THE COURT:    They're pointing out the gateway

 2 provision that you have to file a bankruptcy in good faith.

 3 And they're claiming that this was not done.            So that's what

 4 we're talking about.       That's the primary issue today.

 5              MR. KATYAL:     And if that's what they're isolating, we

 6 think Judge Kaplan found four different reasons why that -- why

 7 the valid purpose of bankruptcy has been served.

 8              THE COURT:    One just fact question, in terms of the

 9 proposal made here to deal with the liabilities of LTL and the

10 funding, were those types of proposals, any variation of that

11 made in connection with the MDL litigation?

12              MR. KATYAL:     I don't believe the funding agreement

13 had anything to do with the MDL litigation.            Rather, as the

14 Court found in --

15              THE COURT:    Yeah, I'm just saying the concept.

16              MR. KATYAL:     Yeah, I don't know about the concept.         I

17 mean I think the only thing I'm aware of is the Court's finding

18 in A15 relying on their own expert that this was a single

19 integrated transaction and so -- with the restructuring and

20 funding agreement.

21              Now you had asked before, Your Honor, I just have to

22 slightly correct something.         I understand that the funding

23 agreement does have provisions for funding outside of

24 bankruptcy.

25              THE COURT:    Yeah, that's what I thought.


                                  WWW.JJCOURT.COM
